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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      CRIMINAL NO. 21-cr-399 (RDM)
                                              :
ROMAN STERLINGOV,                             :
                                              :
                       Defendant.             :

                   GOVERNMENT’S NOTICE IN RESPONSE TO
                MINUTE ORDER E REGARDING TRIAL SCHEDULING

       The United States of America respectfully responds to the Court’s February 4, 2024 Minute

Order requiring the parties to “file a notice on or before February 5, 2024, at 3:00 p.m. with their

best estimate of how many trial days they will need to present their witnesses, including a

reasonable amount of time for cross-examination.”

       The government anticipates its case-in-chief will require anywhere between 8-11 full days

of trial, including reasonable time for cross-examination. Assuming the Court does not sit for trial

on Fridays, and that the parties will be able to make opening statements on Tuesday, Feb. 13, 2024,

the government estimates its case-in-chief could be complete as early as Feb. 27, 2024 or as late

as March 5, 2024. The government appreciates the defense stipulations as to the authenticity of

many records to be introduced at trial, see ECF 177 (Def. Response to Gov’t Motion To Admit

Certain Exhibits), and anticipates that its case may be streamlined through further agreement with

the defense as to translations, as well as Court rulings on pre-admission of exhibits to the extent

practicable.
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                            Respectfully submitted,
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